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                     UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF OKLAHOMA

MIDSHIP PIPELINE COMPANY, LLC,                    )
                       Plaintiff                  )
                                                  )   Case No. CIV-18-302-RAW
v.                                                )
                                                  )
2.331, 2.435, 0.458 ACRES, BRYAN                  )   Date:      08/20/2019
COUNTY, OKLAHOMA, (Tract                          )   Time:      11:02 a.m. – 11:55 a.m.
BR-0860.000), sued as 2.331 acres of land,        )
more or less, permanent easement (pipeline        )
right-of-way), 2.435 acres of land, more or       )
less, temporary work space and 0.458 acres        )
of land, more or less, additional temporary       )
work space in Bryan County, OK, et al.            )
                               Defendants.        )

                          MINUTE SHEET – STATUS CONFERENCE
 Ronald A. White, Judge           T. Stephens, Deputy Clerk         K. Sidwell, Court Reporter
                                                                    FTR - Courtroom 2

Counsel for Plaintiff:         Thomas A. Zabel and Mason J. Schwartz
Counsel for Defendants:        Harlan Hentges, James Miller and Roger L. Ediger
Pro Se Defendants:             Larnell Dewayne Jones and Myrna R. Roberts

Minutes:
Appearances made. Comes on for Status Conference. Court addressed the parties Status Reports
and inquired regarding their suggested options in proceeding in this matter. Plaintiff suggested to
the Court that a hearing be held, parties notified by publication, given time to object and for the
Court to appoint Commissioners pursuant to 71.1. Response by Defense Counsel Hentges,
Ediger and Defendants Roberts and Jones. Plaintiff further suggested that the Court provide a list
of Commissioners, give an opportunity to question the candidates, time to make objections, and
then for the Court to appoint three Commissioners and two Alternates. Once that process is
completed, plaintiff advised that the parties could then come up with a joint set of agreed
instructions. Discussion regarding Rule 71.1, FERC, state law and just compensation. Defense
Counsel Miller requested clarification regarding the appointment of commissioners with multiple
counties being involved. Court responded. Further discussion regarding Court’s 5/31/2019 Order
(Dkt #665) and changes thereto. Court directed Plaintiff to make changes to that Order (Dkt
#665) to fit the procedures discussed and to supply the Court with a Memorandum of changes or
a redline version. Plaintiff was further directed to involve opposing counsel and opposing parties
in the changes and to submit a final draft version to the Court by 9/13/2019. Objections shall be
included in the draft in footnotes or may be filed separately. Plaintiff advised Court that they will
notify parties that are represented by counsel and all parties not represented by publication or
mailed to the last know addresses. Nothing further.

COURT ADJOURNED
